                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION
                                 Case No. 7:23-cv-897

IN RE:                                        )
                                              )   NOTICE OF FILING OF PROPOSED
CAMP LEJEUNE WATER LITIGATION                 )     COMMON BENEFIT ORDER
                                              )
This Document Relates To:                     )
ALL CASES                                     )
                                              )


         Plaintiffs’ Lead Counsel and Co-Lead Counsel (collectively “Plaintiffs’ Leadership”)

respectfully submits to this Honorable Court for consideration the following proposed Common

Benefit Order pursuant to Case Management Order No. 2, entered on September 26, 2023 (D.E.

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   1. Proposed Common Benefit Order (Exhibit A);

WHEREFORE, the Plaintiffs’ Leadership respectfully submits this Notice of Filing.

DATED this 26th day of October 2023.               Respectfully submitted,

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